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6     Attorneys for Plaintiff, SARAH JAFARI
7
                           UNITED STATES DISTRICT COURT
8
           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
9
10
      SARAH JAFARI,                                   Case No. 2:22-cv-00305-DSF (GJSx)
11
                   Plaintiff,                         DECLARATION IN RESPONSE TO
12                                                    ORDER TO SHOW CAUSE
            v.
13                                                    Assigned to Hon. Dale S. Fischer,
      COUNTY OF LOS ANGELES, a                        Courtroom “7D”
14    municipal entity; KONRAD THIEME,
      an Individual, DOES 1-10, inclusive,            Date: March 31, 2022
15
                   Defendants.
16
17
      TO THE COURT, THE PARTIES, AND THEIR ATTORNEYS OF RECORD:
18
            Attorney Vincent Miller submits his declaration in response to the Court’s
19
      order to show cause for failure to appear on March 21, 2022.
20
21
      I, Vincent Miller, declare the following:
22
      1. I represent Plaintiff in the above-captioned case. I am an individual over the
23
         age of 18 years, and if requested to do so, I could and would competently
24
         testify to the facts stated herein.
25
      2. I apologize to the Court and opposing counsel for not appearing at the March
26
         21, 2022 hearing. It is unacceptable to not appear and this is the first time in
27
         my career I have ever done that. This is not an excuse because my office
28
                                                  1
      VINCENT MILLER DECLARATION ORDER TO SHOW CAUSE
     Case 2:22-cv-00305-DSF-GJS Document 25 Filed 03/28/22 Page 2 of 4 Page ID #:142




1        should have been better organized, but what happened is that I lost my main
2        calendar, and relied on my back up calendar which I thought was complete, but
3        did not have the Jafari appearance listed on it. The date was incomplete. In
4        addition to the calendar failing me, my memory failed me as well, as I
5        historically have always remembered my hearing dates without having to look
6        at my calendar, but did not do so in this instance. Again, it is not an excuse, but
7        my wife and I have been dealing with an intense family health issues,
8        including my mother-in-law dying of breast cancer, and I have been sleep
9        deprived recently, and this probably explains why this happened.
10
11
12    VERIFICATION
13    I certify under penalty of perjury of the laws of the State of California that the
14    foregoing is true and correct.
15    Date: March 28, 2022
16
17           _________________________________________________________
18                  Vincent Miller, Attorney for Plaintiff
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                                                2
      VINCENT MILLER DECLARATION ORDER TO SHOW CAUSE
     Case 2:22-cv-00305-DSF-GJS Document 25 Filed 03/28/22 Page 3 of 4 Page ID #:143




1          PROOF OF SERVICE BY EMAIL AND PERSONAL DELIVERY
2
3            I am employed in the County of Los Angeles, State of California. I am
         over the age of 18 and not a party to the within action; my business address
4        is 16255 Ventura Blvd., Suite 625, Encino, CA 91436
5
            On March 28, 2022, I served the foregoing document described as
6        ORDER TO SHOW CAUSE DECLARATION, On the interested parties in
7        by email and by mail, addressed as follows:
8     Thomas C. Hurrell, State Bar No. 119876
      E-Mail: thurrell@hurrellcantrall.com
9     Farid A. Sharaby, State Bar No. 278259
      E-Mail: fsharaby@hurrellcantrall.com
10    Anahit Isaghulyan, State Bar No. 337046
      E-Mail: aisaghulyan@hurrellcantrall.com
11    HURRELL CANTRALL LLP
      300 South Grand Avenue, Suite 1300
12    Los Angeles, California 90071
      Telephone: (213) 426-2000
13    Facsimile: (213) 426-2020
14
15
16
            I declare under penalty of perjury under the laws of the State of
17       California that the above is true and correct.
18
19          Executed on March 28, 2022 at Encino, California.
20
21
22
            ________________________________
23
                                           Declarant
24
25
26
27
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                                               3
      VINCENT MILLER DECLARATION ORDER TO SHOW CAUSE
     Case 2:22-cv-00305-DSF-GJS Document 25 Filed 03/28/22 Page 4 of 4 Page ID #:144




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      VINCENT MILLER DECLARATION ORDER TO SHOW CAUSE
